 8:05-cr-00237-LSC-FG3             Doc # 27   Filed: 07/21/05   Page 1 of 1 - Page ID # 44




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )
                                                )
              Vs.                               )                8:05CR237
                                                )
THERESA LOYE,                                   )                 ORDER
                                                )
                      Defendant.                )




       IT IS ORDERED that the following is set for hearing on July 26, 2005 at 9:00 a.m.
before F.A. Gossett, Courtroom No. 6, Second Floor, Roman L. Hruska U.S. Courthouse, 111
So. 18th Plaza, Omaha, Nebraska:

       - Motion for Pretrial Release [237]

       Since this is a criminal case, the defendant must be present, unless excused by the
Court. The proposed third-party custodian must also be present.

       DATED this 21st day of July, 2005.

                                              BY THE COURT:


                                              S/ F.A. Gossett
                                              United States Magistrate Judge
